                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF WISCONSIN


WILLIAM FEEHAN,

              Plaintiff,

      v.                                    Case No. 20-CV-1771

WISCONSIN ELECTIONS
COMMISSION, and its members
ANN S. JACOBS, MARK L. THOMSEN,
MARGE BOSTELMAN, JULIE M.
GLANCEY, DEAN KNUDSON, ROBERT
F. SPINDELL, JR., in their official
capacities, GOVERNOR TONY EVERS,
in his official capacity,

              Defendants.


       DEFENDANTS WISCONSIN ELECTIONS COMMISSION
              AND ITS MEMBERS’ RESPONSE TO
            TO PLAINTIFF’S MOTION FOR HEARING


      This case should proceed on the schedule that has already been ordered.

Plaintiff’s delayed reversal of position and request for an evidentiary hearing

this week with unidentified witnesses is prejudicial, impractical, and would

not advance resolution of this case. For reasons detailed in the Commission’s

filings later today, the injunction and this entire case can and should be

resolved on briefs. In any event, the Commission has already relied on the

Plaintiff’s request to not have a hearing when scheduling other cases, and a




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hearing this week is impractical. Plaintiff’s delayed scheduling request should

be denied for four reasons.

      First, this request represents quintessential sandbagging. Plaintiff

initially filed his motion for a temporary restraining order and preliminary

injunction on December 1 without asking for a hearing. (See Dkt. 2.) He then

amended that motion later that day, again, without requesting a hearing (see

Dkt. 6), which the Court acknowledged in its December 2 order (Dkt. 7). The

next day, December 3, Plaintiff submitted a third amended motion and

proposed a briefing schedule “to submit the matter on briefs without

argument.” (Dkt. 10-1:1.) Plaintiff’s third amended motion expressly states

that it “present material dispositive issues which are questions of law that may

be resolved without factual investigation or determination.” (Dkt. 10 ¶ 6.) The

court granted that request and scheduled briefing. (Dkt. 29:6) (“But because

that is what the plaintiff—the movant—has asked, the court will rule on the

pleadings.”) Now, at 9:00 p.m. on the Sunday evening before Defendants’ briefs

are due, Plaintiff decides to change his direction and requests an evidentiary

hearing to present three mystery witnesses. This type of sandbagging is

inexcusable.

      Second, the Commission would be prejudiced by Plaintiff’s sandbagging.

It has relied on Plaintiff’s prior request to not have a hearing when scheduling

other hearings, and its witnesses cannot now reasonably prepare and may not


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be available given other proceedings. This week, there is a pretrial hearing on

Wednesday and a hearing on Thursday in another election case in federal court

brought by Donald J. Trump. Donald J. Trump v. The Wisconsin Elections

Comm’n, No. 20-cv-1785-bhl (E.D. Wis.) (See Dkt. 45 noting that a final pretrial

conference is scheduled for Wednesday, December 9, 2020, at 3:00 p.m., and

a final evidentiary hearing is scheduled on Thursday, December 10, 2020 at

9:00 a.m.) There is a hearing on Friday in a state-court case where Donald J.

Trump brings election claims through the state procedures under Wis. Stat.

§ 9.01. Donald J. Trump vs. Joseph R. Biden, No. 20CV7092 (Wis. Cir. Ct.

Milwaukee Cty.) (scheduling a hearing for Friday, December 11, 2020 at

9:00 a.m.). And Wisconsin Assembly Speaker Robin Vos and Majority Leader

Rep. Jim Steineke have announced the Assembly Committee on Campaigns

and Elections will host a public hearing on the 2020 presidential election

scheduled for December 11, 2020, at 10:00 a.m. in the Wisconsin State Capitol.

      An evidentiary hearing here will require the same Commission witness

or witnesses who need to prepare for hearings on Thursday and Friday. Adding

a hearing on Wednesday, or any other day this week, is unacceptably

burdensome and prejudicial.

      Further, the Commission relied on the Plaintiff’s request to not have a

hearing and has not requested expedited discovery or deposed any of Plaintiff’s

purported experts or other witnesses—some of which are not even identified in


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their declarations. Astoundingly, Plaintiff fails to even identify which three

witnesses he intends to present at a hearing he proposes to occur in days.

Plaintiff’s tactics are inexcusable and should not be entertained by the court.

See, Stern v. Marshall, 564 U.S. 462, 482 (2011) (admonishing plaintiff’s

“sandbagging” and noting that the consequences “can be particularly severe.”)

      Third, no evidentiary hearing is necessary. As will be explained in detail in

the Commission’s response brief to be filed later today, Plaintiff’s case has

multiple threshold defects that require dismissal on the pleadings. Plaintiff

lacks standing, his inexplicably late claim is barred by laches, and the relief he

requests is barred by the Eleventh Amendment and Substantive Due Process

Clause. Plaintiff’s individual causes of action fair no better and he has not

stated any constitutional claims as a matter of law.

      Finally, what Plaintiff likely intends to present at any evidentiary

hearing is inadmissible under Daubert and the Federal Rules of Evidence. The

glaring unreliability, and inadmissibility of the evidence that Plaintiff filed in

support of his injunction request will be further explained in the Commission’s

response brief to be filed later today. The documents filed with his Complaint and

brief do not even meet basic evidentiary standards and cannot possibly support

overturning the results of the election.

      Plaintiff’s late reversal of position does not warrant prejudicing the

Commission with an evidentiary hearing the day after tomorrow. The


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Commission requests that this case proceed on the schedule that is already

established.

      Dated this 7th day of December 2020.

                                   Respectfully submitted,

                                   JOSHUA L. KAUL
                                   Attorney General of Wisconsin

                                   Electronically signed by:

                                   s/ S. Michael Murphy
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